                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )          No. 3:13-00209
                                                )          JUDGE CAMPBELL
JUAN COLLAZO                                    )

                                            ORDER

         The hearing to consider the United States’ Motion to Quash Subpoena (Docket No. 67),

currently set for April 3, 2014, is CONTINUED until April 10, 2014, at 9:00 a.m.

         It is so ORDERED.



                                                    _________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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